        Case 1:19-cv-00725-RA-GWG Document 61 Filed 01/12/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
IRIS E. CASTANEDA,                                             :

                                                             :     ORDER
                          Plaintiff,                               19 Civ. 725 (RA) (GWG)
                                                             :
        -v.-

                                                             :
MARRIOTT INTERNATIONAL, INC., et al.,
                                                             :

                           Defendants.                         :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, United States Magistrate Judge

        1. The above-referenced action has been referred to the undersigned for general pre-trial
purposes. See 28 U.S.C. § 636(b)(1)(A). All pre-trial applications, including those relating to
scheduling and discovery, shall be made to the undersigned (except motions to dismiss or for
judgment on the pleadings, for injunctive relief, for summary judgment, or for class
certification). All applications must comply with this Court’s Individual Practices, which are
available through the Clerk’s Office or at: https://nysd.uscourts.gov/hon-gabriel-w-gorenstein

       2. All discovery (as well as requests for admissions) must be initiated in time to be
concluded by the deadline for all discovery.

        3. Discovery motions -- that is, any application pursuant to Rules 26 through 37 or 45 --
not only must comply with ¶ 2.A. of the Court’s Individual Practices but also must be made
promptly after the cause for such a motion arises. In addition, absent extraordinary
circumstances no such application will be considered if made later than 30 days prior to the close
of discovery. Untimely applications will be denied.

        4. Any application for an extension of the time limitations with respect to any deadlines
in this matter must be made as soon as the cause for the extension becomes known to the party
making the application and must be made in accordance with ¶ 1.E of the Court’s Individual
Practices. The application must state the position of all other parties on the proposed extension
and must show good cause therefor not foreseeable as of the date of this Order. “Good cause” as
used in this paragraph does not include circumstances within the control of counsel or the party.
Any application not in compliance with this paragraph will be denied. Failure to comply with
the terms of this Order may also result in sanctions.
       Case 1:19-cv-00725-RA-GWG Document 61 Filed 01/12/21 Page 2 of 2




        5. If a recipient of this Order is aware of any attorneys or parties who should receive
notice of Court action in this case other than any attorneys or parties currently listed on the
docket sheet, please notify Deputy Clerk Richalyn Chambers at (212) 805-4260 immediately.

       SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                                     ______________________________
                                                     GABRIEL W. GORENSTEIN
                                                     United States Magistrate Judge




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